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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                    8:09CR3

      vs.
                                                       MEMORANDUM AND ORDER
ANTONIO FRAUSTO,

                    Defendant.


      This matter is before the court on defendant’s motion to vacate pursuant to 28

U.S.C. § 2255. Filing No. 226. The court initially reviewed the motion to vacate and

concluded the government should file a response. Filing No. 232. The government has

since answered.    Filing No. 235.       The defendant was convicted of conspiracy to

distribute methamphetamine in violation of 21 U.S.C. § 846. He received a sentence of

240 months.

      In his motion defendant contends that (1) he did not knowingly and voluntarily

enter a guilty plea, due to misrepresentations by his attorney about whether defendant’s

nephew could testify; (2) his attorney was ineffective for failing to obtain a

spectrographic voice identification to show that he was not the person who conducted a

drug deal with the confidential informant; (3) his appellate attorney was ineffective on

direct appeal; and (4) the evidence shows he did not qualify for a leadership role

enhancement.

                                        DISCUSSION

      A. The Law

      Under 28 U.S.C. § 2255, a federal prisoner has Aan avenue for relief if his

>sentence was imposed in violation of the Constitution or laws of the United States, or
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. . . was in excess of the maximum authorized by law.=@ King v. United States, 595 F.3d

844, 852 (8th Cir. 2010) (quoting 28 U.S.C. § 2255(a)).           Ineffective assistance of

counsel issues are appropriately raised in collateral proceedings. See United States v.

Hughes, 330 F.3d 1068, 1069 (8th Cir. 2003). The right to counsel is a fundamental

right of criminal defendants; it assures the fairness, and thus the legitimacy, of our

adversary process. Kimmelman v. Morrison, 477 U.S. 365, 374 (1986). Under the Fifth

and Sixth Amendments, a criminal defendant is entitled to assistance of counsel at trial

and at his first appeal of right. See Gideon v. Wainwright, 372 U.S. 335, 344 (1963)

(trial); Evitts v. Lucey, 469 U.S. 387, 392-93 (1985) (the fundamental right to effective

assistance of counsel extends to a criminal defendant=s first appeal as of right). The

right to counsel includes the right to reasonably effective counsel.          Strickland v.

Washington, 466 U.S. 668, 686 (1984). In order to make out a claim of ineffective

assistance, a petitioner must satisfy the familiar Strickland standard, Awhich requires a

showing >that his lawyer’s performance fell below the minimum standards of

professional competence (deficient performance) and that there is a reasonable

probability that the result of the proceedings would have been different if his lawyer had

performed competently (prejudice).=@ King v. United States, 595 F.3d at 852 (quoting

Alaniz v. United States, 351 F.3d 365, 367-68 (8th Cir. 2003)).

      Deficient performance Ais that which falls below the >range of competence

demanded of attorneys in criminal cases.=@ Sinisterra v. United States, C F.3d C, C,

2010 WL 1236310, *5 (8th Cir. April 1, 2010) (quoting Strickland, 466 U.S. at 687).

AThe standard is an objective one, viewed in light of professional norms prevailing when

the representation took place.@ Id.; Bobby v. Van Hook, C U.S. C, C, 130 S. Ct. 13, 16
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(Nov. 9, 2009) (per curiam). We must consider Awhether counsel’s assistance was

reasonable considering all the circumstances.@       Strickland, 466 U.S. at 688.      The

reasonableness of counsel=s challenged conduct must be judged on the facts of the

particular case, viewed as of the time of counsel=s conduct. King, 595 F.3d at 852.

       Under Strickland, strategic choices made after thorough investigation of law and

facts relevant to plausible options are virtually unchallengeable.       Rodela-Aguilar v.

United States, 596 F.3d 457, 464 (8th Cir. 2010). The Eighth Circuit has Aconsistently

held that a reasoned decision not to call a witness >is a virtually unchallengeable

decision of trial strategy,= in part because >there is considerable risk inherent in calling

any witness because if the witness does not hold up well on cross-examination, the

jurors might draw unfavorable inferences.=@ Id. (quoting United States v. Staples, 410

F.3d 484, 488-89 (8th Cir. 2005)). Also, counsel is not necessarily ineffective for failing

to raise an argument that may have had merit but was a wholly novel claim at the time.

Id. at 853; Alaniz, 351 F.3d at 368 (finding deficient performance in failure to raise

improper aggregation of drug quantity at sentencing and on appeal).

       To establish prejudice under Strickland, a petitioner must Ademonstrate that there

is a reasonable probability that, but for counsel’s claimed unprofessional errors, the

result of the proceeding would have been different.@ Christenson v. Ault, C F.3d C, C,

2010 WL 1038732, *4 (8th Cir. Mar. 23, 2010). In the sentencing context, prejudice can

be found with a showing that, had an argument been presented, a defendant likely

would have received a much shorter sentence. King, 595 F.3d at 852-53. “An error

increasing a defendant’s sentence by as little as six months can be prejudicial within the

meaning of Strickland.” Alaniz, 351 F.3d at 368; see also United States v. Spigner, 416
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F.3d 708, 711 (8th Cir. 2005); King, 595 F.3d at 853-54. A petitioner is entitled to relief

under § 2255 if an error by appellate counsel costs a defendant the opportunity to

present a meritorious argument on direct appeal. King, 595 F.3d at 853 (involving plain

error in the dismissal of a direct appeal on the basis of an unenforceable appeal

waiver).

       B. Spectrographic Voice Identification/Testimony of Jose Frausto Diaz

       Defendant first argues that he received ineffective assistance from attorney

Carlos Monzon for giving him erroneous advice about the ability of Jose Frausto-Diaz

(defendant’s nephew) to testify at a trial. The court might find that troublesome, but for

the fact that at sentencing defendant’s nephew did in fact testify that the voice heard on

the recordings at issue in this case is the voice of the defendant. Filing No. 211, Tr.,

182:19-183:25. Defendant’s nephew testified fully at the sentencing and that evidence

was before this court. Further, on appeal the Eighth Circuit found:

       Frausto first argues that the district court procedurally erred by imposing a
       two-level enhancement for his role in the offense “based on the clearly
       erroneous fact that Appellant was the speaker in the recorded phone
       calls.” Frausto, however, ignores the testimony of DEA Agent Dustin
       Wernli—who recorded a number of the conversations between the
       confidential source and Frausto and testified as to the authenticity of the
       recordings and translations—and the testimony of Jose Rigoberto
       Frausto-Diaz, Frausto’s nephew and one of his two-co-conspirators—who
       identified Frausto as a speaker on the recordings. Additionally, a search
       of Frausto’s cell phone revealed two phone numbers used by Agent
       Wernli and the confidential source programmed into the phone’s directory.
       As such, the district court did not clearly err when it determined that
       Frausto was a speaker on the taped telephone conversations.

United States v. Frausto, 636 F.3d 992, 995 (8th Cir. 2011). Accordingly, the court finds

this argument to be without merit.       Defendant has made no showing of deficient

performance or prejudice, nor has he made a credible argument that the outcome of his

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case would have been different. For the same reasons, the court finds there was no

need to obtain a spectrographic voice identification. Thus, the court finds counsel was

not ineffective on either of these two issues.

       C. Ford Focus

       Defendant also alleges that counsel Carlos Monzon was ineffective because Mr.

Monzon told him that the investigators said the black 2001 Ford Focus involved in the

drug deals belonged to the defendant. Defendant, following his sentencing, obtained a

copy of the report which he argues shows that another drug dealer owned the vehicle.

Even if true, the court finds it does not rise to the level of prejudice nor does it change

the outcome in the case.        During the plea colloquy, counsel for the government

summarized the facts which included investigative agents observing defendant arriving

in this vehicle. Defendant did not dispute this fact. Further, establishment of ownership

of the vehicle would not have changed the outcome of this case. Accordingly, the court

finds there is no ineffective assistance as to this claim.

       D. Leadership Enhancement

       Defendant contends that his appellate counsel, Philippe Martinet, erred in not

fully arguing that the leadership enhancement was erroneously applied to him. It is

clear from reading the Eighth Circuit opinion that Mr. Martinet did in fact argue the issue

of a leadership enhancement. Basically, defendant is rearguing that the evidence was

insufficient to support such an enhancement. The Eighth Circuit found that the taped

conversation showed that defendant twice planned and organized delivery of

methamphetamine. The Eighth Circuit further concluded that this court did not err in

finding defendant qualified as a leader. The court finds that counsel was not ineffective

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in this regard.    There is no showing that counsel’s assistance fell below traditional

standards, nor is there a showing that the outcome would have been different if counsel

had more fully made this argument.

      E. Ineffective Appellate Counsel

      On appeal Mr. Martinet apparently incorrectly cited facts to the Eighth Circuit.

For example, Mr. Martinet stated that this court made a factual finding that defendant

possessed a 9mm weapon and that the judge granted a four-level enhancement based

on that finding.    He further stated that this court found defendant had substantial

participation in the offense. See Filing No. 227, at 15, 25 and 26. Although it appears

that Mr. Martinet did in fact argue incorrect facts, which this court does not condone, it

likewise appears the Eighth Circuit noted this court did not apply a dangerous weapon

enhancement and did in fact reduce defendant’s offense level by two for acceptance of

responsibility. Accordingly, the court finds there is no showing of ineffective counsel in

this regard, and there is no showing that absent these mistaken facts that the outcome

would have been different on this issue. See King, 595 F.3d at 853.

      Defendant next argues that there is a sentence disparity between his

codefendants and him. The Eighth Circuit found that the defendant made no arguments

in support of this claim, and thus the claim was waived. However, the Eighth Circuit

also determined that this court had a basis to determine the defendant was the

organizer of this conspiracy. The court further found that defendant is not similarly

situated to his co-conspirators. Again, assuming for the sake of argument that counsel

should have developed this issue on appeal, defendant makes no showing that the

outcome would likely have changed. This court concluded that defendant was a leader.

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This court concluded that defendant was guilty. This court determined the quantity of

methamphetamine involved in this case.            This court found differences between the

defendant and the co-conspirators that justified a difference in sentences. As a result,

even if counsel had fully developed the record in this regard, defendant has not shown

that it would likely have changed the outcome of his sentence. Accordingly, the court

finds no prejudice in this regard.

       THEREFORE, IT IS ORDERED that defendant’s motion for relief pursuant to 28

U.S.C. § 2255, Filing No. 226, is denied. A Judgment will be entered in conjunction with

this Memorandum and Order.

       Dated this 8th day of January, 2013.

                                                    BY THE COURT:


                                                    s/ Joseph F. Bataillon
                                                    United States District Judge




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